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                          IN THE UNITED STATES DISTRICT CO URT
                         FO R THE W ESTERN DISTRICT OF VIRG INIA
                                    DANVILLE DIVISIO N



    UNITED STATES O F AM ERICA

    v.                                       Crim inalAction No.4:19CR00028

    PAULETTE G ENETHA TO LLER




            In the presence ofRandy V.Cargill,m y counsel,w ho has fully explained the

    charges contained in the indictmentagainstme,and having received a copy ofthe

    indictm entfrom the United StatesAttorney before being called upon to plead,Ihereby
.
    plead guiltyto said indictmentand countts)1and 4 thereof.lhave been advised ofthe
    m axim um punishm entw hich m ay be im posed by the courtforthis offense.My plea of

    guilty is m ade know ingly and voluntarily and w ithoutthreatofany kind orw ithout

    prom ises otherthan those disclosed here in open court.


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